C.iA 20 APP (_)INTMENT OF` A_ND AU'I`HORITY TO PAY COUR'[` A.PPOII\'TED COUNSEL

1.t,~lRt/Do'r.mr\:@o;seJ.:@BEM@£LE)OB»§EJDI[ Document4t) l-lleo ucs/ib O[,_ b _T_ ,,J
TNW Miuer, Frani<ie

 

 

 

 

 

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U\St v. Miiler Felony Adult Defendant Cnmmal Case -

 

 

 

 

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ll 18 922(_`:. F -- UNLAWFUL TR ANSPORT/POSSESS/RECEIVE FIREA_RMS THROUGH INTERSTAT MIPHCIB; |

 

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ll. .-\T'[`ORNEY'S NAME (FirstName,M,i.,l.astName,includinganytut'f'ix) 13. COURT ORDER ilLYi,rr-,'..'.

    
 
     
 

 

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:\ND E\TAILING A.DDRESS § 0 Appnil\tingCounsei g C Co»Coli:`\_t§§HiCilt' ilg\ '_;.`i,`ll!‘ GileD
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350 i:`)H_i'i(W'dy [i P Suba ForPanelAnorney E Y gunby C,'¢-ng'-é|_" - vlL:t?
§L]i[€ 29 l‘rior Atloruey‘s Name: w "'t'.i
.i`deSOI] TN 38305 Appoilmnent Date:

 

ij Beranse the above-named person represented has testified under oath or has
otherwise satisfied this court that he or she (l) is financially unable to employ counsel and

Ielephone Nuinher' (731 2 664'4499 [?,) does not wish to waive rounsei, and because the interests ofjusrl`¢'e so require. the

attorney whose name appears in Item 12 is eppo' represent this person in this caae,

  

 

]-l \` .¢\.\[E ANI`) L\’[A]LING AD[)RESS (_)F LA\'\’ FlRi\’I (only provide per instructions} or
Law Omces of D-,wid Ca mp, PLLC m O'“" 14 "FS‘?¢§"-¢>
250 N Parkw-dy _. ' . . ””_'/.‘U .
Si.lii€ 29 blgna|ure ol' Presldlltg Judlcnll Offtrer or By Order ofthe (_,out't
i'deSOl'i TN 33305 Dateo{Order Nunr ProTunc Date

Repayment or partial repayment ordered from the person represented for this \ ervin- at
time ofappoinrment. i:i YES m NO

 

     
 
 
 
 
  
 
 
   
   
  
   
  
 
  
   
    
 
   

 

  

 

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h. B'.ii] and Derention Hearings

 

 

 

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h. Otht~r (Specify on additional sheets)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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., c. loegal research and hriefwriting
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f e. Invcs cigative land Othcr work tsperiryon additional shem)
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l (Rnle per liuur = 5 ) TOTALS:
17. 'l`rii\'el Expenses (lodging. parking, mea|s, mileage etc.)

  

 

 

 

Other Expenscs luther than expert, transcripts. etc.)

   
 
 

 

 

 

 

 

 

 

 

 

(.`ERTIFICA'HGN Ol" ATTORNEY/PA\ :E FOR THE PERIOD OF SERV!CE 20. APPUENTMENT TERMINAT!ON DATE ?.1. CASE DISPO Sl'i`IO.\'
IF OTHER Ti-[AN CASE COMPLETION

 

 

 

 

 

l"R()M TO
22. L` [.A[M STAT US 3 Flnal Pa>1nent [i lnierim I’ayment Numher i:! Sltpp|ementa| ]’aymeltt
|[ave you previously applied to the conn l¢r compensation lndfor remimhursement tnr this case? m YES l:] NO Ifyes, were you paid'.’ E YES :| _`\'O
mher than from the cour1, have you, or tayour knowledge has anyone else, received payment (compensation or anything or value) trom any other source in connection with wis
lcpresenlation'.’ YES [:1` NO If)’t‘\‘. give details on additional theets.

I swear cr affirm the iruil\ or correctness ul`tlle above statemellts.

Sienature ul Attorney: Dal¢:

 

 

  
  

 

  

[T\` COL'RT COMP. 24. OUT OF` COL'RT COM P. 25. T`RAVEL EXPENSES 264 OTHER EXPENSES 17. TOTAL AMT.APPR!(,‘ERT

 

 

 

 

 

2?4. S[GNATl-'RIC OF THE PRES]DINGJUDICIAL OFFICI£R DATE ZHa. JUDGE¢'MAG, JL`DGE C`ODE_
2‘). ll\` COURT COMP. 3|]. OUT GF COURT COM P. 314 'I`RAVEL EXPENSES 32. OTHER EXPENSES 35. Tt)TAL AMT. APi‘ltO\“El)
34. SIGI\'ATL?RE OF CHIEI" JUDGE, COURT OF A.PP EALS (()R DELEGATE) l’eyment DA'I'E Jda, JUDGE CODE

approved in excess of the statutory threshold amount

 

 

 

 

 

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ThiS notice confirms a copy of the document docketed as number 40 in
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Bob C. Hooper

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Honorable J ames Todd
US DISTRICT COURT

